Case 22-19361-MBK              Doc 2422 Filed 11/04/24 Entered 11/04/24 15:36:38                           Desc Main
                                       Document    Page 1 of 31


     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
     Caption in Compliance with D.N.J. LBR 9004-1(b)
     BROWN RUDNICK LLP                                     HAYNES AND BOONE, LLP
     Kenneth J. Aulet, Esq. (admitted pro hac vice)        Richard S. Kanowitz, Esq. (NJ Bar No. 047911992)
     Seven Times Square                                    Lauren M. Sisson, Esq. (NJ Bar No. 394182022)
     New York, New York 10036                              30 Rockefeller Plaza, 26th Floor
     (212) 209-4800                                        New York, New York 10112
     kaulet@brownrudnick.com                               (212) 659-7300
                                                           richard.kanowitz@haynesboone.com
     BROWN RUDNICK LLP                                     lauren.sisson@haynesboone.com
     Tristan Axelrod, Esq. (admitted pro hac vice)
     One Financial Center                                  Attorneys for the Plan Administrator
     Boston, MA 02111
     (617)856-8300
     taxelrod@brownrudnick.com

     General Counsel for the Plan Administrator

     GENOVA BURNS LLC
     Daniel M. Stolz, Esq.
     Donald W. Clarke, Esq.
     110 Allen Rd., Suite 304
     Basking Ridge, NJ 07920
     (973) 230-2095
     DStolz@genovaburns.com
     DClarke@genovaburns.com

     Local Counsel for the Plan Administrator
 In re:                                                  Chapter 11
                                                         Case No. 22-19361 (MBK)
 BLOCKFI INC., et al.,                                   (Jointly Administered under a Confirmed Plan 2)
                              Debtors. 1                 Hearing Date: November 7, 2024 @ 11:30 a.m. ET




     WIND-DOWN DEBTORS’ REPLY IN SUPPORT OF THE MOTION FOR ENTRY OF
         AN ORDER TO SHOW CAUSE WHY GEORGE GERRO SHOULD NOT
           BE FOUND IN CONTEMPT AND FOR SANCTIONS AND IN THE
        ALTERNATIVE, MOTION TO ENFORCE THE CONFIRMATION ORDER



 1
   The Wind-Down Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal tax
 identification number, are: BlockFi Inc. (0015); BlockFi Trading LLC (2487); BlockFi Lending LLC (5017); BlockFi
 Wallet LLC (3231); BlockFi Ventures LLC (9937); BlockFi International Ltd. (N/A); BlockFi Investment Products
 LLC (2422); BlockFi Services, Inc. (5965) and BlockFi Lending II LLC (0154). The location of the Wind-Down
 Debtors’ service address is c/o M3 Partners, 1700 Broadway, 19th Floor, New York, NY 10019.
 2
   On October 3, 2023, the Court entered an order confirming the Third Amended Joint Chapter 11 Plan of BlockFi
 Inc. and its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code (Additional Technical Modifications)
 (the “Plan”) [Docket No. 1609]. Unless otherwise indicated, capitalized terms used but not defined in this Reply shall
 have the meanings ascribed to them in the Plan.
Case 22-19361-MBK              Doc 2422 Filed 11/04/24 Entered 11/04/24 15:36:38                             Desc Main
                                       Document    Page 2 of 31



 TO: THE HONORABLE CHIEF JUDGE MICHAEL B. KAPLAN UNITED STATES
 BANKRUPTCY COURT FOR THE DISTRICT OF NEW JERSEY

            BlockFi Inc. and its debtor affiliates (collectively, “BlockFi” or the “Wind-Down Debtors,”

 or referred to in the past tense as the “Debtors”), as managed by the Plan Administrator, in the

 above-referenced Chapter 11 cases (the “Chapter 11 Cases”), hereby file this Wind-Down Debtors’

 Reply in Support of the Motion for Entry of an Order to Show Cause Why George Gerro Should

 Not Be Found in Contempt and for Sanctions and in the Alternative, Motion to Enforce the

 Confirmation Order (the “Reply”) in response to George J. Gerro’s Response to Debtors’ Motion

 for an Order to Show Cause Re: Contempt, or Alternatively, a Motion to Enforce (the “Gerro

 Response”). In support of the Reply, the Wind-Down Debtors respectfully represent as follows:

                                                Preliminary Statement

            1.       In a case with over 300,000 creditors and parties in interest, Gerro remains the

 repeated source of unnecessary litigation. The Wind-Down Debtors were forced to file the Motion 3

 to enforce the Confirmation Order against Gerro following multiple attempts to obtain Gerro’s

 voluntary compliance. It is clear to the Wind-Down Debtors that the only way to obtain Gerro’s

 compliance with the Confirmation Order is for this Court to enter an order specifically requiring

 Gerro to comply with it and dismiss the Prepetition Litigation in full, with prejudice.

            2.       Gerro’s Response to the Motion continues with his misunderstanding that dismissal

 of the Prepetition Litigation with prejudice will somehow negatively affect his pending appeal of

 the District Court Order affirming this Court’s Memorandum Decision disallowing the Gerro

 Claims. In the event Gerro obtains a favorable decision from the Third Circuit that reverses the

 District Court Order, at best, the result would be that the Gerro Claim becomes an Allowed Claim,



 3
     Capitalized terms used herein but not defined shall have the meanings ascribed to them in the Motion.
Case 22-19361-MBK        Doc 2422 Filed 11/04/24 Entered 11/04/24 15:36:38                   Desc Main
                                 Document    Page 3 of 31



 or the issue is remanded to this Court for further determination regarding the allowance of the

 Gerro Claim. As Gerro has been informed repeatedly, in no scenario following the outcome of the

 appeal does Gerro get to continue his Prepetition Litigation against the Wind-Down Debtors or the

 BlockFi Doe Defendants. Gerro is permanently enjoined and barred from continuing to prosecute

 the Prepetition Litigation and from reserving the right to refile his prepetition lawsuits against the

 Wind-Down Debtors. Gerro’s refusal to dismiss with prejudice is, in fact, a reservation of such

 rights and a violation of the Plan injunction.

        3.      In his Response, Gerro would have this Court believe that he has acted innocently.

 He asserts that he is not bound by the Plan and Confirmation Order, and/or that he has substantially

 complied. But there can be no doubt he is so bound, and he is not in compliance.

        4.      For reasons unknown, Gerro appears to believe the Wind-Down Debtors are

 seeking a massive monetary (or even criminal) penalty. The proposed Order, however, simply

 requires Gerro’s compliance with the Confirmation Order by dismissing of the Prepetition

 Litigation in full, with prejudice. The proposed Order then provides that if Gerro fails to comply

 within ten days of entry of the Order, that he may be liable for the Wind-Down Debtors’ reasonable

 costs and fees associated with enforcing their rights against Gerro. A separate hearing on that issue

 would need to be set if Gerro were to fail to comply, at which time the Court would assess the

 reasonableness of any requested sanctions.

        5.      The Wind-Down Debtors submit the requested relief in the Motion is necessary to

 enforce the terms of the Plan and Confirmation Order and bring finality to the Prepetition

 Litigation.
Case 22-19361-MBK            Doc 2422 Filed 11/04/24 Entered 11/04/24 15:36:38                              Desc Main
                                     Document    Page 4 of 31



                                                    Background

          6.       A complete background of the Chapter 11 Cases and Gerro’s Prepetition Litigation

 may be found in the Wind-Down Debtors’ Motion for Entry of an Order to Show Cause Why

 George Gerro Should Not Be Found in Contempt and for Sanctions and in the Alternative, Motion

 to Enforce the Confirmation Order (the “Motion”) [Doc No. 2412].

          7.       Gerro filed the Gerro Response to the Motion on October 31, 2024 [Doc No. 2421].

          8.       The Gerro Response contains certain arguments newly raised in these Chapter 11

 Cases, notwithstanding over a year of litigation between Gerro and the Debtors and Wind-Down

 Debtors. Certain additional factual representations follow below and are attached hereto as relevant

 to Gerro’s new contentions.

                                                        Reply

     A. Dismissal With Prejudice of the Prepetition Litigation is Required by the Chapter
        11 Plan and Does Not Affect Gerro’s Appellate Rights as to the Gerro Claims.

          9.       Gerro is a BlockFi creditor who submitted to the jurisdiction of this Court by filing

 the Gerro Claims. Gerro was served with due process in these cases, including an opportunity to

 object to the Plan and its provisions enjoining non-bankruptcy litigation, estimating disallowed

 claims, and providing for opt-out of the Plan releases. Gerro made no such objections and did not

 opt out of any releases. Gerro did not appeal the Plan or any provision thereof. Accordingly, Gerro

 is not only bound by the confirmed Plan and Confirmation Order, including the Plan injunction,

 but is considered a Releasing Party under the Plan. 4




 4
   Gerro’s contention that he is not a BlockFi creditor is discussed further below. In sum, the Plan defines “Releasing
 Party” to including Holders of Claims against any Debtor. At the time of Plan solicitation, Gerro held a claim that was
 subject to appeal, and thus was not disallowed on a final basis. Accordingly, as set forth in more detail below, Gerro
 received a Disputed Claim Notice that permitted him to opt out, or not, of the Plan’s third-party releases. Gerro did
 not return the opt out form.
Case 22-19361-MBK         Doc 2422 Filed 11/04/24 Entered 11/04/24 15:36:38                   Desc Main
                                  Document    Page 5 of 31



         10.     The confirmed Plan precludes and permanently enjoins all Persons and Entities who

 have held, hold, or may hold Claims or Interests that are fully satisfied pursuant to the Plan or any

 Claim or Interest that is subject to the releases and exculpations set forth in Articles VIII.A, VIII.B,

 and VIII.C of the Plan from “enforcing, pursuing, or seeking any setoff or relief with respect to

 such Claims or Interests, except for the receipt of the payments or Distributions that are

 contemplated by the Plan.” Confirmation Order ¶ 112; Plan Art. VIII.

         11.     Moreover, Holders of Claims and Interests in these Chapter 11 Cases are defined

 in the Plan as Releasing Parties, which “conclusively, absolutely, unconditionally, irrevocably and

 forever released and discharged” themselves and their respective successors and assigns from

 asserting any Causes of Action against each Released Party.

         12.     The Gerro Response asserts that the dismissal with prejudice of all BlockFi related

 entities from the Prepetition Litigation would “undermin[e] the Third Circuit’s appellate

 jurisdiction” because it would be res judicata and claim preclusive under California law. Gerro

 Response at p. 2. This assertion is incorrect. Rather, the injunction language in the Plan bars Gerro

 from litigating the Gerro Claims against BlockFi in a forum outside of the Bankruptcy Court,

 including the state courts of California. Compliance with the Confirmation Order does not affect

 Gerro’s appeal of the District Court Order affirming the Bankruptcy Court’s Memorandum

 Decision disallowing the Gerro Claims, which is now pending before the Third Circuit. Dismissal

 of the Prepetition Litigation in full with prejudice as required by the Plan and Confirmation order

 will not have any effect on the Third Circuit’s decision regarding the allowance of the Gerro

 Claims.

         13.     Gerro was informed repeatedly in correspondence with BlockFi that a full dismissal

 with prejudice of the Prepetition Litigation would not affect the Third Circuit’s pending decision
Case 22-19361-MBK            Doc 2422 Filed 11/04/24 Entered 11/04/24 15:36:38                           Desc Main
                                     Document    Page 6 of 31



 on the Gerro Claims. See Motion at Exs. B-1, C, & F. To assuage Gerro’s concerns and avoid the

 need for the Motion and related use of additional estate resources, the Wind-Down Debtors

 proposed a stipulation to be filed with this Court that stated, inter alia, that “the dismissal of the

 entirety of the Prepetition Litigation with prejudice, shall not impact the Third Circuit Appeal or

 the allowance or disallowance of the Gerro Claims.” A true and correct copy of the proposed

 stipulation, which was attached to correspondence the Wind-Down Debtors’ counsel sent to Gerro

 prior to filing the Motion, is attached as Exhibit A.

         14.      Gerro refused to sign the stipulation. Gerro proposed his own stipulation to be filed

 with the State Court that did not dismiss the Prepetition Litigation in its entirety with prejudice

 and left it pending against the BlockFi Doe Defendants with an opportunity to refile against

 BlockFi and its agents or representatives. See Motion at Exs. G-1, G-2. The Wind-Down Debtors

 declined Gerro’s proposal. The Wind-Down Debtors believe Gerro’s proposal is legally non-

 sensical and represents a clear attempt by Gerro to avoid compliance with the Plan and

 Confirmation Order.

         15.      Following the exchange of proposals described above, Gerro continued to demand

 additional legal authority from the Wind-Down Debtors and asked the Wind-Down Debtors to

 explain their goals in seeking dismissal of the Prepetition litigation. Gerro has likewise expressed

 indifference to the administrative cost of his numerous pending matters against the Wind-Down

 Debtors. 5 On the basis of Gerro’s statements and positions, and upon Gerro’s failure to respond to

 the Wind-Down Debtors’ stated deadline for dismissal with prejudice, the Wind-Down Debtors




 5
   Gerro remarked during the most recent status conference in the Prepetition Litigation that the Wind-Down Debtors
 should not be allowed to complain about the wasting of estate resources because all creditors are being paid 100% of
 their claims.
Case 22-19361-MBK          Doc 2422 Filed 11/04/24 Entered 11/04/24 15:36:38                 Desc Main
                                   Document    Page 7 of 31



 concluded that Gerro’s outstanding objections were not in good faith and were perhaps an

 intentional delay tactic. The Wind-Down Debtors accordingly filed the present Motion.

     B. Gerro’s Continued Refusal to Dismiss the Prepetition Litigation in Full and With
        Prejudice is a Clear Violation of the Chapter 11 Plan and Confirmation Order.

         16.     Gerro argues that he has substantially complied with this Court’s orders and has not

 violated “any explicit order.” Gerro Response at p. 2. Gerro, however, completely ignores the

 express terms of the Plan and Confirmation Order. Moreover, the Wind-Down Debtors have

 repeatedly explained to Gerro (who is an attorney) the meaning and import of the explicit sections

 of the Plan and Confirmation Order that require complete dismissal. In response, Gerro takes the

 position that “[u]nder California law, a dismissal with prejudice would bar Gerro’s claims

 litigation. That result is not required.” Id. at p. 5.

         17.     Gerro is mistaken, as complete dismissal of the California litigation and a bar on

 the re-filing of prepetition litigation against BlockFi in any forum is exactly what is required by

 the Plan and Confirmation Order.

         18.     Again, BlockFi attempted to work with Gerro over several months to obtain his

 compliance with the Plan and Confirmation Order, to no avail. The Wind-Down Debtors believe

 that Gerro’s continued refusal to dismiss the Prepetition Litigation in full, with prejudice is not in

 good faith and may be an intentional delay tactic with the aim of later resurrecting impermissible

 legal claims.

     C. Gerro is Bound by the Terms of the Chapter 11 Plan, including All Releases.

         19.     The Gerro Response inexplicably—and in complete contradiction to all other

 pleadings filed by Gerro in this Court and others—asserts that he is not a creditor of BlockFi. See

 Gerro Response at p. 7. Gerro appears to base this assertion on the Gerro Claims being disallowed
Case 22-19361-MBK             Doc 2422 Filed 11/04/24 Entered 11/04/24 15:36:38                              Desc Main
                                      Document    Page 8 of 31



 and the false premise that he was not given the opportunity to opt out of the Third-Party Releases.

 Gerro contends that a “disallowed claim is treated as if it never existed.” Id.

          20.      Gerro is incorrect as to both fact and law. First, Gerro was indeed a Holder of a

 Claim, consistent with the relevant definitions within the Plan, as of Plan solicitation and the date

 of entry of the Confirmation Order. 6 Thus, Kroll Restructuring Administration (the “Claims and

 Servicing Agent”) served Gerro by electronic mail with the Disputed Claim Notice (the “Notice”),

 which contains an Optional Release Opt-Out Form. A true and correct copy of the Notice is

 attached as Exhibit B. A true and correct copy of the Claims and Servicing Agent’s unredacted

 service exhibit showing that Gerro was served with the Notice via electronic mail is attached as

 Exhibit C. 7 The Claims and Servicing Agent’s records of creditors who opted out of the Third-

 Party Release do not reflect a submission by Gerro of the Optional Release Opt-Out Form, nor

 does he assert that he submitted one. As such, Gerro is bound by the Third-Party Releases and

 cannot pursue claims against the BlockFi Doe Defendants. 8

          21.       Second, the Plan and Confirmation Order expressly refute the contention that the

 Gerro Claims would ever be treated somehow as if they never existed. The Plan and Confirmation


 6
   Although the Gerro Claims were disallowed prior to Plan confirmation, Gerro appealed disallowance. Accordingly,
 he maintained a right to payment under the Plan contingent upon successful appeal and was (and is) a Holder of a
 Claim. Notably, the question of whether Gerro is a Holder of a Claim and was entitled to grant or opt out of third party
 releases is separate from the question of whether the Wind-Down Debtors must reserve for any Distribution upon
 Gerro’s Claims. As ordered by this Court, the orders disallowing the Gerro Claims, notwithstanding further appeals,
 had the effect of estimating the value of the Gerro Claims at zero dollars pending resolution of such appeals.
 Interestingly, Gerro has appealed this Court’s orders permitting the Wind-Down Debtors to hold no reserve for the
 Gerro Claims, a fact that undermines Gerro’s contention that he has no such claims.
 7
   The affidavit of service regarding the Disputed Claim Notice can be found at Doc. No. 1573. Ex. C is an excerpt
 from the unredacted list of creditors served with the Notice. The unredacted list was not filed on the docket because
 of privacy and security concerns for individual creditors.
 8
  See Plan Art. VIII.B (releases); I.A.191 (definition of “Releasing Parties” including Holders of Claims that do not
 opt out of third-party releases). To the extent Gerro could be deemed to have opted out of the Plan releases, Gerro
 would be unable to prosecute claims against Released Parties (including, presumably, the so-called Doe Defendants)
 without satisfying the “gatekeeping” provision at Art. VIII.B. That provision would require that Gerro obtain a
 determination by this Court that his claims have not been released pursuant to Art. VIII.A of the Plan.
Case 22-19361-MBK        Doc 2422 Filed 11/04/24 Entered 11/04/24 15:36:38                  Desc Main
                                 Document    Page 9 of 31



 Order clearly state that “[a]ll Persons and Entities who have held, hold, or may hold Claims or

 Interests…shall be precluded and permanently enjoined…from enforcing, pursuing, or seeking

 any setoff or relief with respect to such Claims or Interests” and likewise enjoined from interfering

 with the use of the Debtors’ assets in the manner contemplated by the Plan. Plan Art. VIII.D

 (emphasis added), cf. Confirmation Order ¶¶ 110-112 (same language).

           22.   Again, the Wind-Down Debtors view these arguments—raised now for the first

 time—as a further attempt by Gerro to cause delay and preserve rights to prosecute impermissible

 claims.

    D. The Wind-Down Debtors Do Not Request Punitive or Criminal Relief.

           23.   Gerro complains that the relief requested by the Wind-Down Debtors is punitive

 and “criminal in nature,” comprising a “lump sum request.” Gerro Response at pp. 8-9. This

 allegation is unsupported.

           24.   The proposed Order attached to the Motion at Ex. A and filed at Dkt. No. 2413

 would require that Gerro dismiss the Prepetition Litigation with prejudice. As stated herein and in

 the Motion, the Wind-Down Debtors believe that the relief is consistent with and comprises a fair

 enforcement of this Court’s prior orders.

           25.   The proposed Order states that if Gerro refuses to comply timely with the Order,

  he “may be” liable to the Wind-Down Debtors for payment of certain costs and fees, pending a

   further hearing on the matter. To the extent Gerro fears an inappropriate monetary penalty, he

   can address his concerns to the Court at the appropriate time when such penalty is sought. No
Case 22-19361-MBK        Doc 2422 Filed 11/04/24 Entered 11/04/24 15:36:38                Desc Main
                                Document    Page 10 of 31



   such penalty is currently sought, and no penalty of a criminal nature is sought by this Motion.

                                            Conclusion

        The Gerro Response is predicated primarily upon Gerro’s misunderstanding of law and

 fact, and his continued obfuscation of and refusal to comply with this Court’s Confirmation Order.

 Entry of the proposed Order is necessary to make clear to Gerro that his compliance is required by

 law and to prevent continued waste of judicial and estate resources.

        WHEREFORE, the Wind-Down Debtors respectfully request that the Court (i) enter the

 proposed Order to the Motion granting the relief requested therein on a final basis, and (ii) grant

 such other and further relief as the Court may deem just and appropriate.
Case 22-19361-MBK      Doc 2422 Filed 11/04/24 Entered 11/04/24 15:36:38               Desc Main
                              Document    Page 11 of 31


 Respectfully Submitted,
 Dated: November 4, 2024                     /s/ Daniel M. Stolz

                                             GENOVA BURNS LLC
                                             Daniel M. Stolz, Esq.
                                             Donald W. Clarke, Esq.
                                             110 Allen Rd., Suite 304
                                             Basking Ridge, NJ 07920
                                             (973) 230-2095
                                             DStolz@genovaburns.com
                                             DClarke@genovaburns.com

                                             Local Counsel to the Plan Administrator

                                             HAYNES AND BOONE, LLP
                                             Richard S. Kanowitz, Esq. (NJ Bar No. 047911992)
                                             Lauren M. Sisson, Esq. (NJ Bar No. 394182022)
                                             30 Rockefeller Plaza, 26th Floor
                                             New York, New York 10112
                                             (212) 659-7300
                                             richard.kanowitz@haynesboone.com
                                             lauren.sisson@haynesboone.com

                                             Attorneys for the Plan Administrator

                                             BROWN RUDNICK LLP
                                             Kenneth J. Aulet, Esq. (admitted pro hac vice)
                                             Seven Times Square
                                             New York, New York 10036
                                             (212) 209-4800
                                             kaulet@brownrudnick.com

                                             BROWN RUDNICK LLP
                                             Tristan Axelrod, Esq. (admitted pro hac vice)
                                             One Financial Center
                                             Boston, MA 02111
                                             (617)856-8300
                                             taxelrod@brownrudnick.com

                                             General Counsel to the Plan Administrator
Case 22-19361-MBK   Doc 2422 Filed 11/04/24 Entered 11/04/24 15:36:38   Desc Main
                           Document    Page 12 of 31



                                  EXHIBIT A

                           PROPOSED STIPULATION
Case 22-19361-MBK           Doc 2422 Filed 11/04/24 Entered 11/04/24 15:36:38                          Desc Main
                                   Document    Page 13 of 31



 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-1(b)
                                                                 Chapter 11
 In re:
                                                                 Case No. 22-19361 (MBK)
 BLOCKFI INC., et al.,                                           (Jointly Administered under a Confirmed
                                                                 Plan2)
                            Debtors.1


         STIPULATION AND AGREED ORDER REGARDING PREPETITION
     LITIGATION AND THIRD CIRCUIT APPEAL FILED BY GEORGE J. GERRO

          The relief set forth on the following pages, numbered one (1) through five (5), is hereby

 ORDERED.




 1
   The Wind-Down Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax
 identification number, are: BlockFi Inc. (0015); BlockFi Trading LLC. (2487); BlockFi Lending LLC (5017);
 BlockFi Wallet LLC (3231); BlockFi Ventures LLC (9937); BlockFi International Ltd. (N/A); BlockFi Investment
 Products LLC (2422); BlockFi Services, Inc. (5965) and BlockFi Lending II LLC (0154). The location of the Wind-
 Down Debtors’ service address is c/o M3 Partners, 1700 Broadway, 19th Floor, New York, NY 10019.
 2
   On October 3, 2023, the Court entered an order confirming the Third Amended Joint Chapter 11 Plan of BlockFi
 Inc. and its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code (Additional Technical Modifications)
 (the “Plan”) [Docket No. 1609].
Case 22-19361-MBK            Doc 2422 Filed 11/04/24 Entered 11/04/24 15:36:38                          Desc Main
                                    Document    Page 14 of 31
 (Page 1)
 Debtors:                  BLOCKFI INC., et al.
 Case No.                  22-19361 (MBK)
 Caption of Order:         STIPULATION AND AGREED ORDER REGARDING PREPETITION
                           LITIGATION FILED BY GEORGE J. GERRO

 BROWN RUDNICK LLP                                          HAYNES AND BOONE, LLP
 Kenneth J. Aulet, Esq. (admitted pro hac vice)             Richard S. Kanowitz, Esq. (NJ Bar No. 047911992)
 Seven Times Square                                         Lauren M. Sisson, Esq. (NJ Bar No. 394182022)
 New York, New York 10036                                   30 Rockefeller Plaza, 26th Floor
 (212) 209-4800                                             New York, New York 10112
 kaulet@brownrudnick.com                                    (212) 659-7300
                                                            richard.kanowitz@haynesboone.com
 BROWN RUDNICK LLP                                          lauren.sisson@haynesboone.com
 Tristan Axelrod, Esq. (admitted pro hac vice)
 One Financial Center                                       Attorneys for the Plan Administrator
 Boston, MA 02111
 (617)856-8300
 taxelrod@brownrudnick.com

 Attorneys for the Plan Administrator

 GENOVA BURNS LLC
 Daniel M. Stolz, Esq.
 Donald W. Clarke, Esq.
 110 Allen Rd., Suite 304
 Basking Ridge, NJ 07920
 (973) 230-2095
 DStolz@genovaburns.com
 DClarke@genovaburns.com

 Local Counsel for the Plan Administrator



         This stipulation (the “Stipulation”) is entered into by BlockFi Inc. and its debtor affiliates

 (collectively, “BlockFi” or the “Wind-Down Debtors,” or referred to in the past tense as the

 “Debtors”),1 as managed by the Plan Administrator, in the above-referenced Chapter 11 cases

 (the “Chapter 11 Cases”) and George J. Gerro (“Gerro”), each a “Party” and collectively, the

 “Parties.”

                                                  RECITALS

         WHEREAS, The BlockFi entities are Wind-Down Debtors in the Chapter 11 Cases


 1
          The Wind-Down Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal
 tax identification number, are: BlockFi Inc. (0015); BlockFi Trading LLC (2487); BlockFi Lending LLC (5017);
 BlockFi Wallet LLC (3231); BlockFi Ventures LLC (9937); BlockFi International Ltd. (N/A); BlockFi Investment
 Products LLC (2422); BlockFi Services, Inc. (5965) and BlockFi Lending II LLC (0154). The location of the Wind-
 Down Debtors’ service address is c/o M3 Partners, 1700 Broadway, 19th Floor, New York, NY 10019
Case 22-19361-MBK        Doc 2422 Filed 11/04/24 Entered 11/04/24 15:36:38             Desc Main
                                Document    Page 15 of 31
 (Page 2)
 Debtors:               BLOCKFI INC., et al.
 Case No.               22-19361 (MBK)
 Caption of Order:      STIPULATION AND AGREED ORDER REGARDING PREPETITION
                        LITIGATION FILED BY GEORGE J. GERRO

 jointly administered under the case styled In re BlockFi, Inc., et al., Case No. 22-19361 (MBK),

 pending in the United States Bankruptcy Court for the District of New Jersey (the “Bankruptcy

 Court”);

        WHEREAS, prior to the filing of these Chapter 11 Cases, (“Gerro”) filed a pro se

 lawsuit styled Case No. 20BBCV00308 in the Superior Court of the State of California for the

 County of Los Angeles, North Central District (the “State Court”) against BlockFi Lending,

 LLC, Scratch Services, LLC, and Does 1-100 alleging claims based on breach of contract,

 California Commercial Code violations, and other related claims (“Gerro I”), followed by a

 second pro se lawsuit in the same State Court styled 20STCV31493 against BlockFi Lending,

 LLC, Scratch Services, LLC, and Does 1-100 raising identical claims and seeking injunctive

 relief under California Business and Professions Code Section 17200 (“Gerro II” and together

 with Gerro I, the “Prepetition Litigation”);

        WHEREAS, Gerro filed Claim Nos. 12386 and 15248 in these Chapter 11 Cases against

 BlockFi Lending (the “Gerro Claims”);

        WHEREAS, BlockFi objected to the Gerro Claims and sought their disallowance (the

 “Gerro Claim Objection”) [Docket No. 1069];

        WHEREAS, the Bankruptcy Court entered its Memorandum Decision (the

 “Memorandum Decision”) disallowing the Gerro Claims [Docket No. 1420];

        WHEREAS, Gerro appealed the Memorandum Decision to the United States District

 Court for the District of New Jersey (the “District Court”) [Docket No. 1453];

        WHEREAS, on October 3, 2023, the Court entered its Revised Findings of Fact,

 Conclusions of Law, and Order (I) Approving the Disclosure Statement Relating to the Third

                                                 2
Case 22-19361-MBK        Doc 2422 Filed 11/04/24 Entered 11/04/24 15:36:38                Desc Main
                                Document    Page 16 of 31
 (Page 3)
 Debtors:               BLOCKFI INC., et al.
 Case No.               22-19361 (MBK)
 Caption of Order:      STIPULATION AND AGREED ORDER REGARDING PREPETITION
                        LITIGATION FILED BY GEORGE J. GERRO

 Amended Joint Chapter 11 Plan of BlockFi Inc. and its Debtor Affiliates Pursuant to Chapter 11

 of the Bankruptcy Code on a Final Basis and (II) Confirming the Third Amended Joint Chapter

 11 Plan of BlockFi Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code

 (Additional Technical Modifications) [Docket No. 1660] (the “Confirmation Order”) confirming

 the Plan, which went effective on October 24, 2023 [Docket No. 1788];

        WHEREAS, on August 30, 2024, the District Court issued its Letter Order (the “District

 Court Order”) affirming this Court’s decision and dismissing Mr. Gerro’s appeal [Docket No. 11

 in Case No. 3:23-cv-18740-ZNQ];

        WHEREAS, Gerro appealed the District Court Order to the United States Court of

 Appeals for the Third Circuit, which remains pending as of the date of this Stipulation and

 Agreed Order (the “Third Circuit Appeal”);

        WHEREAS, the Wind-Down Debtors have requested that Gerro dismiss the entirety of

 the Prepetition Litigation in full as to all parties with prejudice in compliance with the terms of

 the Plan and Confirmation Order; and

        WHEREAS, Gerro is concerned that dismissal of the full of the Prepetition Litigation

 with prejudice could somehow impact his Third Circuit Appeal regarding the disallowance of the

 Gerro Claims.

        NOW, THEREFORE, in consideration of the mutual covenants, promises and

 obligations set forth herein, and other good and valuable consideration, the sufficiency of which

 is acknowledged, the Parties hereby agree as follows and IT IS HEREBY ORDERED THAT:

        1.       Gerro shall dismiss the lawsuits comprising the Prepetition Litigation in their

 entirety as to all parties with prejudice promptly upon entry of this Stipulation and Agreed Order.

                                                 3
Case 22-19361-MBK        Doc 2422 Filed 11/04/24 Entered 11/04/24 15:36:38                 Desc Main
                                Document    Page 17 of 31
 (Page 4)
 Debtors:               BLOCKFI INC., et al.
 Case No.               22-19361 (MBK)
 Caption of Order:      STIPULATION AND AGREED ORDER REGARDING PREPETITION
                        LITIGATION FILED BY GEORGE J. GERRO

        2.      A copy of this Stipulation and Agreed Order shall also be filed in the Prepetition

 Litigation, to provide notice to the presiding judge.

        3.      This Stipulation and Agreed Order, and Gerro’s compliance therewith, including

 the dismissal of the entirety of the Prepetition Litigation with prejudice, shall not impact the

 Third Circuit Appeal or the allowance or disallowance of the Gerro Claims.

        4.      This Stipulation and Agreed Order is immediately effective upon its entry.

        5.      If the Prepetition Litigation is not dismissed within ten (10) days following entry

 of this Order, he Wind-Down Debtors shall report such violation of this Order to the Court and

 may seek a hearing to consider whether Gerro shall be liable for the Wind-Down Debtors’

 reasonable costs and attorneys’ fees.

        6.      This Court retains exclusive jurisdiction with respect to all matters arising from or

 related to the interpretation or enforcement of this Order.

                                         [signature page follows]




                                                    4
Case 22-19361-MBK        Doc 2422 Filed 11/04/24 Entered 11/04/24 15:36:38             Desc Main
                                Document    Page 18 of 31
 (Page 5)
 Debtors:               BLOCKFI INC., et al.
 Case No.               22-19361 (MBK)
 Caption of Order:      STIPULATION AND AGREED ORDER REGARDING PREPETITION
                        LITIGATION FILED BY GEORGE J. GERRO

 STIPULATED AND AGREED TO BY:

   /s/ DRAFT                                 /s/ DRAFT

   GERRO & GERRO                             GENOVA BURNS LLC
   George J. Gerro                           Daniel M. Stolz, Esq.
   530 S. Glenoaks Boulevard, Suite 200      Donald W. Clarke, Esq.
   Burbank, California 91502                 110 Allen Rd., Suite 304
   Telephone: (818) 840-0000                 Basking Ridge, NJ 07920
   Email: george@gerrolaw.com                (973) 230-2095
                                             DStolz@genovaburns.com
   Pro Se Attorney for George J. Gerro       DClarke@genovaburns.com

                                             Local Counsel to the Plan Administrator

                                             HAYNES AND BOONE, LLP
                                             Richard S. Kanowitz, Esq. (NJ Bar No.
                                             047911992)
                                             Lauren M. Sisson, Esq. (NJ Bar No. 394182022)
                                             30 Rockefeller Plaza, 26th Floor
                                             New York, New York 10112
                                             (212) 659-7300
                                             richard.kanowitz@haynesboone.com
                                             lauren.sisson@haynesboone.com

                                             Attorneys for the Plan Administrator

                                             BROWN RUDNICK LLP
                                             Kenneth J. Aulet, Esq. (admitted pro hac vice)
                                             Seven Times Square
                                             New York, New York 10036
                                             (212) 209-4800
                                             kaulet@brownrudnick.com

                                             BROWN RUDNICK LLP
                                             Tristan Axelrod, Esq. (admitted pro hac vice)
                                             One Financial Center
                                             Boston, MA 02111
                                             (617)856-8300
                                             taxelrod@brownrudnick.com

                                             General Counsel to the Plan Administrator




                                            5
Case 22-19361-MBK   Doc 2422 Filed 11/04/24 Entered 11/04/24 15:36:38   Desc Main
                           Document    Page 19 of 31



                                  EXHIBIT B

                          DISPUTED CLAIMS NOTICE
Case 22-19361-MBK                  Doc 2422 Filed 11/04/24 Entered 11/04/24 15:36:38                                                Desc Main
 SRF 71952                                Document    Page 20 of 31


                                           UNITED STATES BANKRUPTCY COURT
                                                DISTRICT OF NEW JERSEY


 In re:                                                                     Chapter 11

 BLOCKFI INC., et al.,                                                      Case No. 22-19361 (MBK)

                                             Debtors. 1                     (Jointly Administered)



                 NOTICE OF NON-VOTING STATUS WITH RESPECT TO DISPUTED CLAIMS

            PLEASE TAKE NOTICE THAT on August 2, 2023, the United States Bankruptcy Court for the District
 of New Jersey (the “Bankruptcy Court”) entered an order [Docket No. 1306] (the “Conditional Disclosure Statement
 Order”) (a) authorizing BlockFi Inc. and its affiliated debtors and debtors in possession (collectively, the “Debtors”)
 to solicit acceptances for the Third Amended Joint Chapter 11 Plan of BlockFi Inc. and Its Debtor Affiliates Pursuant
 to Chapter 11 of the Bankruptcy Code [Docket No. 1300] (as modified, amended, or supplemented from time to time,
 the “Plan”); 2 (b) conditionally approving the Disclosure Statement Relating to the Third Amended Joint Chapter 11
 Plan of BlockFi Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 1301] (as
 modified, amended, or supplemented from time to time, the “Disclosure Statement”) as containing “adequate
 information” pursuant to section 1125 of the Bankruptcy Code; (c) approving the solicitation materials and documents
 to be included in the solicitation packages (the “Solicitation Packages”); and (d) approving procedures for soliciting,
 receiving, and tabulating votes on the Plan and for filing objections to the Plan.

          PLEASE TAKE FURTHER NOTICE THAT you are receiving this notice because you are the Holder of
 a Claim that is subject to a pending objection by the Debtors. You are not entitled to vote any disputed portion of
 your Claim on the Plan unless one or more of the following events have taken place before a date that is two
 business days before the Voting Deadline (each, a “Resolution Event”):

           1.         an order of the Bankruptcy Court is entered allowing such Claim pursuant to section 502(b) of the
                      Bankruptcy Code, after notice and a hearing;

           2.         an order of the Bankruptcy Court is entered temporarily allowing such Claim for voting purposes
                      only pursuant to Bankruptcy Rule 3018(a), after notice and a hearing;

           3.         a stipulation or other agreement is executed between the Holder of such Claim and the Debtors
                      temporarily allowing the Holder of such Claim to vote its Claim in an agreed upon amount; or

           4.         the pending objection to such Claim is voluntarily withdrawn by the objecting party.

          PLEASE TAKE FURTHER NOTICE THAT the hearing at which the Bankruptcy Court will consider
 final approval of the Disclosure Statement and Confirmation of the Plan will commence on September 26, 2023 at
 1:00 p.m. (prevailing Eastern Time), or as soon thereafter as counsel may be heard (the “Combined Hearing”) before
 the Honorable Chief Judge Michael B. Kaplan, United States Bankruptcy Judge, Clarkson S. Fisher United States
 Courthouse, 402 East State Street, Second Floor, Courtroom 8, Trenton, NJ 08608.


 1
      The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification number, are: BlockFi Inc.
      (0015); BlockFi Trading LLC (2487); BlockFi Lending LLC (5017); BlockFi Wallet LLC (3231); BlockFi Ventures LLC (9937); BlockFi
      International Ltd. (N/A); BlockFi Investment Products LLC (2422); BlockFi Services, Inc. (5965); and BlockFi Lending II LLC (0154). The
      location of the Debtors’ service address is 100 Horizon Center Blvd., 1st and 2nd Floors, Hamilton, NJ 08691.

 2
      Capitalized terms not otherwise defined herein shall have the same meanings ascribed to them in the Plan or the Disclosure Statement, as
      applicable.




                                                                        2
Case 22-19361-MBK            Doc 2422 Filed 11/04/24 Entered 11/04/24 15:36:38                              Desc Main
 SRF 71952                          Document    Page 21 of 31


           PLEASE TAKE FURTHER NOTICE THAT electronic copies of the Disclosure Statement, the
 Conditional Disclosure Statement Order, and the Plan have been included with the distribution of this notice. If you
 would like to obtain paper copies of the Disclosure Statement, the Conditional Disclosure Statement Order, or the
 Plan, or copies of the Plan Supplement and other related documents, you should contact Kroll Restructuring
 Administration LLC, the claims, noticing, and solicitation agent retained by the Debtors in these Chapter 11 Cases
 (the “Claims, Noticing, and Solicitation Agent”), by emailing the Claims, Noticing, and Solicitation Agent at
 blockfiinfo@ra.kroll.com with a reference to “In re: BlockFi - Solicitation Inquiry” in the subject line. You may also
 obtain copies of any pleadings filed with the Bankruptcy Court for free by visiting the Debtors’ restructuring website,
 https://restructuring.ra.kroll.com/blockfi, or the Bankruptcy Court’s website at https://www.njb.uscourts.gov in
 accordance with the procedures and fees set forth therein.

          PLEASE TAKE FURTHER NOTICE THAT if a Resolution Event occurs, then no later than two business
 days (or one business day if such Resolution Event occurs within one week of the Voting Deadline) thereafter, the
 Claims, Noticing, and Solicitation Agent shall distribute a ballot via email to you, which must be returned to the
 Claims, Noticing, and Solicitation Agent no later than the Voting Deadline, which is on September 11, 2023
 at 4:00 p.m. (prevailing Eastern Time).

          PLEASE TAKE FURTHER NOTICE THAT if you have any questions about the status of any of your
 Claims, you should contact the Claims, Noticing, and Solicitation Agent in accordance with the instructions provided
 above.

 PLEASE TAKE FURTHER NOTICE THAT ARTICLE VIII OF THE PLAN CONTAINS RELEASE,
 EXCULPATION, AND INJUNCTION PROVISIONS, AND ARTICLE VIII.B CONTAINS A
 THIRD-PARTY RELEASE. THUS, YOU ARE ADVISED TO REVIEW AND CONSIDER THE PLAN,
 INCLUDING THE RELEASE, INJUNCTION, AND EXCULPATION PROVISIONS CAREFULLY
 BECAUSE YOUR RIGHTS MIGHT BE AFFECTED THEREUNDER.

 IF YOU ELECT TO OPT OUT OF THE THIRD-PARTY RELEASE, YOU WILL NOT RECEIVE A RELEASE
 FROM THE DEBTORS AND THE WIND-DOWN TRUSTEE MAY PURSUE ANY CLAIMS AND CAUSES OF
 ACTION THE DEBTORS HAVE AGAINST YOU.

 IF YOU DO NOT OPT OUT OF THE THIRD-PARTY RELEASE, YOU WILL BE RELEASED FROM ANY AND
 ALL CLAIMS AND CAUSES OF ACTION THE DEBTORS MAY HAVE AGAINST YOU, EXCEPT FOR
 RETAINED PREFERENCE CLAIMS, IF APPLICABLE.

 IF YOU ELECT TO OPT OUT OF THE THIRD-PARTY RELEASE, PLEASE COMPLETE, SIGN, AND DATE
 THE OPT OUT FORM ATTACHED AS ATTACHMENT A AND SUBMIT IT PROMPTLY THROUGH THE
 ONLINE BALLOT PORTAL ACCORDING TO THE INSTRUCTIONS SET FORTH ON THE RELEASE OPT
 OUT FORM.

 THE RELEASE OPT OUT FORM MUST BE ACTUALLY RECEIVED BY THE CLAIMS, NOTICING, AND
 SOLICITATION AGENT BY SEPTEMBER 11, 2023 AT 4:00 P.M. PREVAILING EASTERN TIME.

 YOU ARE ADVISED TO REVIEW AND CONSIDER THE PLAN CAREFULLY BECAUSE YOUR RIGHTS
 MIGHT BE AFFECTED THEREUNDER.

 THIS NOTICE IS BEING SENT TO YOU FOR INFORMATIONAL PURPOSES ONLY. IF YOU HAVE
 QUESTIONS WITH RESPECT TO YOUR RIGHTS UNDER THE PLAN OR ABOUT ANYTHING STATED
 HEREIN OR IF YOU WOULD LIKE TO OBTAIN ADDITIONAL INFORMATION, CONTACT THE
 CLAIMS, NOTICING, AND SOLICITATION AGENT.




                                                           3
Case 22-19361-MBK         Doc 2422 Filed 11/04/24 Entered 11/04/24 15:36:38              Desc Main
 SRF 71952                       Document    Page 22 of 31


  Dated: August 3, 2023                          /s/ Michael D. Sirota
                                                  COLE SCHOTZ P.C.
                                                  Michael D. Sirota, Esq. (NJ Bar No. 014321986)
                                                  Warren A. Usatine, Esq. (NJ Bar No. 025881995)
                                                  Court Plaza North, 25 Main Street
                                                  Hackensack, New Jersey 07601
                                                  (201) 489-3000
                                                  msirota@coleschotz.com
                                                  wusatine@coleschotz.com

                                                  KIRKLAND & ELLIS LLP
                                                  KIRKLAND & ELLIS INTERNATIONAL LLP
                                                  Joshua A. Sussberg, P.C. (admitted pro hac vice)
                                                  Christine A. Okike, P.C. (admitted pro hac vice)
                                                  601 Lexington Avenue
                                                  New York, New York 10022
                                                  (212) 446-4800
                                                  jsussberg@kirkland.com
                                                  christine.okike@kirkland.com

                                                  HAYNES AND BOONE, LLP
                                                  Richard S. Kanowitz, Esq. (NJ Bar No. 047911992)
                                                  Kenric D. Kattner, Esq. (admitted pro hac vice)
                                                  30 Rockefeller Plaza, 26th Floor
                                                  New York, New York 10112
                                                  (212) 659-7300
                                                  richard.kanowitz@haynesboone.com
                                                  kenric.kattner@haynesboone.com

                                                  Attorneys for Debtors and
                                                  Debtors in Possession




                                             4
Case 22-19361-MBK   Doc 2422 Filed 11/04/24 Entered 11/04/24 15:36:38   Desc Main
 SRF 71952                 Document    Page 23 of 31



                                 Attachment A

                              Release Opt Out Form
Case 22-19361-MBK             Doc 2422 Filed 11/04/24 Entered 11/04/24 15:36:38                             Desc Main
 SRF 71952                           Document    Page 24 of 31


                                     OPTIONAL: RELEASE OPT OUT FORM

 IF YOU WOULD LIKE TO MAKE THE OPTIONAL OPT OUT ELECTION, PLEASE COMPLETE, SIGN,
 AND DATE THIS OPT OUT FORM AND SUBMIT IT PROMPTLY BY THE METHOD BELOW.

                                           By electronic, online submission:

             To submit your Opt Out Form via the online Ballot Portal, please visit
             https://restructuring.ra.kroll.com/blockfi/EBallot-Home and follow the instructions to submit
             your Opt Out Form.

             IMPORTANT NOTE: You will need the following information to retrieve and submit your
             customized Opt Out Form:

                  Unique E-Opt Out ID#: ________________________________________________

             The online Ballot Portal is the sole manner in which Opt Out Forms will be accepted. Hard copy
             Opt Out Forms will not be accepted, and electronic Opt Out Forms will not be accepted by
             facsimile or any other electronic means (other than the online portal).


   THE VOTING DEADLINE IS SEPTEMBER 11, 2023 AT 4:00 P.M. (PREVAILING EASTERN TIME).

         THE CLAIMS, NOTICING, AND SOLICITATION AGENT MUST ACTUALLY RECEIVE
                THIS OPT OUT FORM ON OR BEFORE THE VOTING DEADLINE.

 You are receiving this opt out form (the “Opt Out Form”) because you are the holder of a disputed Claim that is not
 entitled to vote on the Third Amended Joint Chapter 11 Plan of BlockFi Inc. and Its Debtor Affiliates Pursuant to
 Chapter 11 of the Bankruptcy Code [Docket No. 1300] (as modified, amended, or supplemented from time to time,
 the “Plan”). You are deemed to grant the Third-Party Release set forth below unless you affirmatively opt out
 by completing and returning this form in accordance with the directions herein or file an objection to the
 Third-Party Release with the Bankruptcy Court on or before September 11, 2023 at 4:00 p.m. (prevailing
 Eastern Time).

 PLEASE READ AND FOLLOW THE ENCLOSED INSTRUCTIONS FOR COMPLETING THIS OPT OUT FORM
 CAREFULLY BEFORE COMPLETING THIS OPT OUT FORM.

 If you choose to opt out of the Third-Party Release set forth in Article VIII.B of the Plan, please promptly
 complete, sign, and date this Opt Out Form and return it to Kroll Restructuring Administration LLC (the “Claims,
 Noticing, and Solicitation Agent”) via the Claims, Noticing, and Solicitation Agent’s online voting portal (the “Ballot
 Portal”) at https://restructuring.ra.kroll.com/blockfi/EBallot-Home. The online balloting portal is the sole manner in
 which Opt Out Forms will be accepted. Hard copy Opt Out Forms will not be accepted, and electronic Opt Out
 Forms will not be accepted by facsimile or any other electronic means (other than the online portal).

 THIS OPT OUT FORM MUST BE ACTUALLY RECEIVED BY THE CLAIMS, NOTICING, AND
 SOLICITATION AGENT BY SEPTEMBER 11, 2023 AT 4:00 P.M. (PREVAILING EASTERN TIME)
 (THE “VOTING DEADLINE”). IF THE OPT OUT FORM IS RECEIVED AFTER THE VOTING
 DEADLINE, IT WILL NOT BE COUNTED.

 If you believe you have received this Opt Out Form in error, or if you believe that you have received the wrong Opt
 Out Form, please contact the Claims, Noticing, and Solicitation Agent immediately by emailing the Claims, Noticing,
 and Solicitation Agent at blockfiinfo@ra.kroll.com with a reference to “In re: BlockFi - Solicitation Inquiry” in the
 subject line.
Case 22-19361-MBK           Doc 2422 Filed 11/04/24 Entered 11/04/24 15:36:38                 Desc Main
 SRF 71952                         Document    Page 25 of 31


 Article VIII.B of the Plan provides for a third-party release (the “Third-Party Release”):

        EXCEPT AS EXPRESSLY SET FORTH IN THE PLAN, EFFECTIVE ON THE EFFECTIVE
 DATE, IN EXCHANGE FOR GOOD AND VALUABLE CONSIDERATION, THE ADEQUACY OF WHICH
 IS HEREBY CONFIRMED, EACH RELEASED PARTY IS HEREBY CONCLUSIVELY, ABSOLUTELY,
 UNCONDITIONALLY, IRREVOCABLY, AND FOREVER RELEASED AND DISCHARGED BY EACH
 AND ALL OF THE RELEASING PARTIES, IN EACH CASE ON BEHALF OF THEMSELVES AND THEIR
 RESPECTIVE SUCCESSORS, ASSIGNS, AND REPRESENTATIVES, AND ANY AND ALL OTHER
 ENTITIES WHO MAY PURPORT TO ASSERT ANY CAUSE OF ACTION, FROM ANY AND ALL
 CAUSES OF ACTION, WHETHER KNOWN OR UNKNOWN, FORESEEN OR UNFORESEEN,
 MATURED OR UNMATURED, EXISTING OR HEREAFTER ARISING, IN LAW, EQUITY, CONTRACT,
 TORT, OR OTHERWISE, INCLUDING ANY DERIVATIVE CLAIMS ASSERTED OR ASSERTABLE ON
 BEHALF OF ANY OF THE DEBTORS, THAT SUCH ENTITY WOULD HAVE BEEN LEGALLY
 ENTITLED TO ASSERT IN ITS OWN RIGHT (WHETHER INDIVIDUALLY OR COLLECTIVELY OR
 ON BEHALF OF THE HOLDER OF ANY CLAIM AGAINST, OR INTEREST IN, A DEBTOR OR OTHER
 ENTITY), BASED ON OR RELATING TO, OR IN ANY MANNER ARISING FROM, IN WHOLE OR IN
 PART, THE DEBTORS (INCLUDING THE MANAGEMENT, OWNERSHIP, OR OPERATION
 THEREOF), THEIR CAPITAL STRUCTURE, THE PURCHASE, SALE, OR RESCISSION OF THE
 PURCHASE OR SALE OF ANY SECURITY OF THE DEBTORS, THE SUBJECT MATTER OF, OR THE
 TRANSACTIONS OR EVENTS GIVING RISE TO, ANY CLAIM OR INTEREST THAT IS TREATED IN
 THE PLAN, THE PLATFORM PAUSE, THE BUSINESS OR CONTRACTUAL ARRANGEMENTS
 BETWEEN ANY DEBTOR AND ANY RELEASED PARTY, THE FTX LOAN AGREEMENT, THE 3AC
 MASTER LOAN AGREEMENTS, THE ALAMEDA LOAN AGREEMENTS, THE EMERGENT PLEDGE,
 THE DEBTORS’ OUT OF COURT RESTRUCTURING EFFORTS, INTERCOMPANY TRANSACTIONS
 BETWEEN OR AMONG A DEBTOR AND ANOTHER DEBTOR, THE FORMULATION, PREPARATION,
 DISSEMINATION, NEGOTIATION, FILING, OR CONSUMMATION OF THE DEFINITIVE
 DOCUMENTS, OR ANY CONTRACT, INSTRUMENT, RELEASE, OR OTHER AGREEMENT OR
 DOCUMENT CREATED OR ENTERED INTO IN CONNECTION WITH THE DEFINITIVE
 DOCUMENTS, THE PURSUIT OF CONSUMMATION OF THE PLAN, THE ADMINISTRATION AND
 IMPLEMENTATION OF THE WIND DOWN, OR UPON ANY OTHER ACT OR OMISSION,
 TRANSACTION, AGREEMENT, EVENT, OR OTHER OCCURRENCE RELATED TO THE DEBTORS
 TAKING PLACE ON OR BEFORE THE EFFECTIVE DATE.

       ENTRY OF THE CONFIRMATION ORDER SHALL CONSTITUTE THE BANKRUPTCY
 COURT’S APPROVAL, PURSUANT TO BANKRUPTCY RULE 9019, OF THE RELEASES DESCRIBED
 IN ARTICLE VIII.B OF THE PLAN, WHICH INCLUDES BY REFERENCE EACH OF THE RELATED
 PROVISIONS AND DEFINITIONS CONTAINED IN THE PLAN, AND FURTHER, SHALL CONSTITUTE
 THE BANKRUPTCY COURT’S FINDING THAT EACH RELEASE DESCRIBED IN ARTICLE VIII.B OF
 THE PLAN IS: (1) IN EXCHANGE FOR THE GOOD AND VALUABLE CONSIDERATION PROVIDED
 BY THE RELEASED PARTIES; (2) A GOOD-FAITH SETTLEMENT AND COMPROMISE OF SUCH
 CAUSES OF ACTION; (3) IN THE BEST INTERESTS OF THE DEBTORS AND ALL HOLDERS OF
 CLAIMS AND INTERESTS; (4) FAIR, EQUITABLE, AND REASONABLE; (5) GIVEN AND MADE
 AFTER DUE NOTICE AND OPPORTUNITY FOR HEARING; (6) A SOUND EXERCISE OF THE
 DEBTORS’ BUSINESS JUDGMENT; AND (7) A BAR TO ANY OF THE RELEASING PARTIES OR THE
 DEBTORS OR THE WIND-DOWN DEBTORS OR THEIR RESPECTIVE ESTATES ASSERTING ANY
 CAUSE OF ACTION RELATED THERETO, OF ANY KIND, AGAINST ANY OF THE RELEASED
 PARTIES OR THEIR PROPERTY.

       WITHOUT LIMITING THE FOREGOING, FROM AND AFTER THE EFFECTIVE DATE, ANY
 ENTITY THAT IS GIVEN THE OPPORTUNITY TO OPT OUT OF THE RELEASES CONTAINED IN
 ARTICLE VIII.B OF THE PLAN AND DOES NOT EXERCISE SUCH OPT OUT MAY NOT ASSERT ANY
 CLAIM OR OTHER CAUSE OF ACTION AGAINST ANY RELEASED PARTY BASED ON OR
 RELATING TO, OR IN ANY MANNER ARISING FROM, IN WHOLE OR IN PART, THE DEBTORS.
 FROM AND AFTER THE EFFECTIVE DATE, ANY ENTITY (I) THAT OPTED OUT OF THE RELEASES
 CONTAINED IN ARTICLE VIII.B OF THE PLAN OR (II) WAS DEEMED TO REJECT THE PLAN MAY
 NOT ASSERT ANY CLAIM OR OTHER CAUSE OF ACTION AGAINST ANY RELEASED PARTY FOR



                                                        2
Case 22-19361-MBK         Doc 2422 Filed 11/04/24 Entered 11/04/24 15:36:38      Desc Main
 SRF 71952                       Document    Page 26 of 31


 WHICH IT IS ASSERTED OR IMPLIED THAT SUCH CLAIM OR CAUSE OF ACTION IS NOT SUBJECT
 TO THE RELEASES CONTAINED IN ARTICLE VIII.A OF THE PLAN WITHOUT FIRST OBTAINING
 A FINAL ORDER FROM THE BANKRUPTCY COURT (A) DETERMINING, AFTER NOTICE AND A
 HEARING, THAT SUCH CLAIM OR CAUSE OF ACTION IS NOT SUBJECT TO THE RELEASES
 CONTAINED IN ARTICLE VIII.A OF THE PLAN AND (B) SPECIFICALLY AUTHORIZING SUCH
 PERSON OR ENTITY TO BRING SUCH CLAIM OR CAUSE OF ACTION AGAINST ANY SUCH
 RELEASED PARTY.      THE BANKRUPTCY COURT WILL HAVE SOLE AND EXCLUSIVE
 JURISDICTION TO DETERMINE WHETHER A CLAIM OR CAUSE OF ACTION CONSTITUTES A
 DIRECT OR DERIVATIVE CLAIM, IS COLORABLE AND, ONLY TO THE EXTENT LEGALLY
 PERMISSIBLE AND AS PROVIDED FOR IN ARTICLE XI OF THE PLAN, THE BANKRUPTCY COURT
 SHALL HAVE JURISDICTION TO ADJUDICATE THE UNDERLYING CLAIM OR CAUSE OF ACTION.

        NOTHING IN THE PLAN SETTLES, RELEASES, OR DISCHARGES DIRECT CLAIMS HELD
 BY CREDITORS (OTHER THAN CLAIMS AGAINST THE DEBTORS) WHO OPTED OUT OF THE
 THIRD-PARTY RELEASE. TO THE EXTENT ANY CREDITOR WHO OPTED OUT HAD A DIRECT
 CLAIM AGAINST A NON-DEBTOR UNDER APPLICABLE NON-BANKRUPTCY LAW (OTHER THAN
 A FRAUDULENT TRANSFER CLAIM) PRIOR TO THE PETITION DATE, SUCH CLAIM DID NOT
 VEST IN THE DEBTORS ON THE PETITION DATE AND NOTHING IN THE PLAN OR THE
 CONFIRMATION ORDER PREVENTS, RELEASES, OR OBSTRUCTS A PROPERLY PLED DIRECT
 CLAIM, INCLUDING ANY ARGUMENT UNDER IN RE SEMCRUDE L.P., 796 F.3D 310 (3D CIR. 2015)
 OR IN RE WILTON ARMETALE, INC., 968 F.3D 273 (3D CIR. 2020) THAT SUCH CLAIM WAS VESTED
 IN THE DEBTORS BY OPERATION OF THE BANKRUPTCY CODE. FOR THE AVOIDANCE OF
 DOUBT, NOTHING IN THE PLAN OR THE CONFIRMATION ORDER MODIFIES THE GATEKEEPER
 FUNCTION CONTAINED IN ARTICLE VIII.B OF THE PLAN OR THE LAW AS TO WHAT IS A DIRECT
 OR DERIVATIVE CLAIM, OR IS A CONCESSION THAT A DIRECT OR DERIVATIVE CLAIM EXISTS.

                                            *       *       *

 UNDER THE PLAN, “RELEASED PARTIES” MEANS, COLLECTIVELY, IN EACH CASE IN ITS CAPACITY
 AS SUCH: (A) THE DEBTORS; (B) THE WIND-DOWN DEBTORS; (C) THE RELEASING PARTIES; (D) THE
 BERMUDA PROVISIONAL LIQUIDATORS; (E) THE COMMITTEE SETTLEMENT PARTIES (SUBJECT TO
 THE TERMS OF THE COMMITTEE SETTLEMENT); AND (F) EACH RELATED PARTY OF EACH ENTITY
 IN CLAUSES (A) THROUGH (E); PROVIDED THAT ANY OF (I) FTX; (II) 3AC; (III) ALAMEDA;
 (IV) EMERGENT; (V) MAREX; (VI) CORE SCIENTIFIC; (VII) THE INSURANCE PROVIDERS; (VIII) ANY
 HOLDER OF A CLAIM AGAINST OR INTEREST IN THE DEBTORS THAT IS NOT A RELEASING PARTY;
 AND (IX) EACH RELATED PARTY OF EACH ENTITY IN CLAUSES (I) THROUGH (VIII) SHALL NOT BE A
 “RELEASED PARTY;” PROVIDED FURTHER THAT ADDITIONAL PERSONS, OTHER THAN THE
 COMMITTEE SETTLEMENT PARTIES AND THEIR RELATED PARTIES, MAY BE INCLUDED IN THE
 PLAN SUPPLEMENT AS NON-RELEASED PARTIES.

 UNDER THE PLAN, “RELEASING PARTIES” MEANS, COLLECTIVELY, IN EACH CASE IN ITS
 CAPACITY AS SUCH: (A) THE DEBTORS; (B) THE WIND-DOWN DEBTORS; (C) ALL HOLDERS OF
 CLAIMS THAT VOTE TO ACCEPT THE PLAN AND WHO DO NOT AFFIRMATIVELY OPT OUT OF THE
 RELEASES PROVIDED BY THE PLAN; (D) ALL HOLDERS OF CLAIMS THAT ARE DEEMED TO ACCEPT
 THE PLAN AND WHO DO NOT AFFIRMATIVELY OPT OUT OF THE RELEASES PROVIDED BY THE
 PLAN; (E) ALL HOLDERS OF CLAIMS WHO ABSTAIN FROM VOTING ON THE PLAN AND WHO DO NOT
 AFFIRMATIVELY OPT OUT OF THE RELEASES PROVIDED BY THE PLAN; (F) ALL HOLDERS OF
 CLAIMS WHO VOTE TO REJECT THE PLAN AND WHO DO NOT AFFIRMATIVELY OPT OUT OF THE
 RELEASES PROVIDED BY THE PLAN; (G) THE COMMITTEE SETTLEMENT PARTIES (SUBJECT TO THE
 TERMS OF THE COMMITTEE SETTLEMENT); AND (H) EACH RELATED PARTY OF EACH ENTITY IN
 CLAUSES (A) THROUGH (G).

 Important information regarding the Third-Party Release:




                                                    3
Case 22-19361-MBK            Doc 2422 Filed 11/04/24 Entered 11/04/24 15:36:38                              Desc Main
 SRF 71952                          Document    Page 27 of 31


 YOU MAY ELECT NOT TO GRANT AND RECEIVE THE RELEASES CONTAINED IN ARTICLE VIII.B OF
 THE PLAN ONLY IF YOU (A) TIMELY SUBMIT THE FORM BELOW OR (B) TIMELY FILE WITH THE
 BANKRUPTCY COURT ON THE DOCKET OF THE CHAPTER 11 CASES AN OBJECTION TO THE
 RELEASES CONTAINED IN ARTICLE VIII OF THE PLAN. THE ELECTION TO WITHHOLD CONSENT TO
 GRANT SUCH RELEASE IS AT YOUR OPTION. BY OPTING OUT OF THE THIRD-PARTY RELEASE SET
 FORTH IN ARTICLE VIII.B OF THE PLAN, YOU WILL FOREGO THE BENEFIT OF OBTAINING THE
 DEBTOR RELEASE SET FORTH IN ARTICLE VIII.A OF THE PLAN. THIS MEANS THAT THE
 WIND-DOWN TRUSTEE MAY PURSUE ANY CLAIMS AND CAUSES OF ACTION THE DEBTORS HAVE
 AGAINST YOU.

 IF YOU DO NOT OPT OUT OF THE THIRD-PARTY RELEASE, YOU WILL BE RELEASED FROM ANY AND
 ALL CLAIMS AND CAUSES OF ACTION THE DEBTORS MAY HAVE AGAINST YOU, EXCEPT FOR
 RETAINED PREFERENCE CLAIMS, IF APPLICABLE.

 OPTIONAL RELEASE ELECTION. YOU MAY ELECT TO OPT OUT OF THE RELEASE CONTAINED
 IN ARTICLE VIII.B OF THE PLAN IF YOU CHECK THE BOX BELOW:


                       By checking this box, you elect to opt OUT of the Third-Party Release

 Certifications.

 By signing this Opt Out Form, the undersigned certifies:

     (a) that, as of the Voting Record Date, either: (i) the undersigned is a Holder of a Claim against the Debtors that
         is not entitled to vote on the Plan or (ii) the undersigned is an authorized signatory of a Holder of a Claim
         against the Debtors that is not entitled to vote on the Plan;

     (b) that the Holder has received a copy of the Notice of Non-Voting Status With Respect to Disputed Claims and
         that this Opt Out Form is made pursuant to the terms and conditions set forth therein;

     (c) that the undersigned has submitted the Opt Out Form with respect to all of its Claims; and

     (d) that no other Opt Out Form with respect to these Claims has been submitted or, if any other Opt Out Forms
         have been submitted with respect to such Claims, then any such earlier Opt Out Forms are hereby revoked.




                                                            4
Case 22-19361-MBK            Doc 2422 Filed 11/04/24 Entered 11/04/24 15:36:38               Desc Main
 SRF 71952                          Document    Page 28 of 31




 Name of Holder:
                                                 (Print or Type)
 Signature:
 Name of Signatory:
                                            (If other than the Holder)
 Title:
 Address:




 Telephone Number:
 Email:
 Date Completed:

 If your address or contact information has changed, please note the new information here.




                                                          5
Case 22-19361-MBK   Doc 2422 Filed 11/04/24 Entered 11/04/24 15:36:38   Desc Main
 SRF 71952                 Document    Page 29 of 31
Case 22-19361-MBK   Doc 2422 Filed 11/04/24 Entered 11/04/24 15:36:38   Desc Main
                           Document    Page 30 of 31



                                  EXHIBIT C

                              SERVICE EXHIBIT
                         Case 22-19361-MBK       Doc 2422 Filed 11/04/24 Entered 11/04/24 15:36:38   Desc Main
                                                        Document Exhibit
                                                                    Page 31 of 31
                                                             Disputed Service List
                                                               Served via Email

                                                NAME                                    EMAIL




                              Gerro, George                            George@GerroLaw.com
                              Gerro, George J                          george@gerrolaw.com


In re: BlockFi Inc., et al.
Case No. 22-19361 (MBK)                                           Page 3 of 9
